        Case 1:21-cr-00073-RJS-DBP Document 50 Filed 09/16/22 PageID.112 Page 1 of 3
PS8A
                                      United States Probation Office
                                         For the District of Utah

                            Report on Defendant Under Pretrial Supervision

Name of Offender: Dana Jean Steele                         Docket No.: 1:21CR00073- 002

Name of Judicial Officer: Honorable Daphne A. Oberg
                          U.S. Magistrate Judge

Date of Release: June 18, 2021




On June 18, 2021, the defendant was released after appearing on a charge of Possession of
Methamphetamine with Intent to Distribute and Felon in Possession of Firearms., under the following
conditions:

(a) maintain or actively seek verifiable employment and/or maintain or commence an educational
    program as approved by the pretrial officer.

(b) abide by the following restrictions on his/her personal associations, place of abode, or travel:

       ☒ (i) maintain residence and do not change without prior permission from the pretrial officer.
       ☒ (ii) not travel outside the state of Utah without prior permission from the pretrial officer.
       ☒ (iii) not travel outside the United States without prior permission from the Court.

(d) avoid all contact with those named persons, who are considered either alleged victims, potential
    witnesses and/or codefendants.

(e) report on a regular basis to the pretrial officer as directed.

(f)    not possess a firearm, ammunition, destructive device, or other dangerous weapon.

(h) not use or unlawfully possess a narcotic drug and other controlled substances defined in 21
    U.S.C.§ 802 unless prescribed by a licensed medical practitioner. Prescriptions should be
    reported to the pretrial officer.

(i)    submit to drug/alcohol testing as directed by the pretrial officer; defendant shall pay all or part of
       the cost of the drug testing:

       ☐ (1) if testing reveals illegal drug use, the defendant must participate in drug and/or alcohol
             abuse treatment, if deemed advisable by the pretrial officer; defendant shall pay all or part
             of the cost of the program, based upon your ability to pay as the pretrial officer
             determines.
       ☒ (2) if testing reveals illegal drug use, the court will be notified immediately, with further
       Case 1:21-cr-00073-RJS-DBP Document 50 Filed 09/16/22 PageID.113 Page 2 of 3
PS8                                                                                         Dana Jean Steele
D/UT 12/16                                                                                 1:21CR00073-002

             action to be determined.

(k) participate in a program of inpatient or outpatient substance abuse therapy and counseling if
    deemed advisable by the pretrial officer; defendant shall pay all or part of the cost of the program,
    based upon your ability to pay as the pretrial officer determines.

(m) surrender any passport to the United States Clerk of the Court, District of Utah.

(n) not obtain or apply for passport.

(s)   participate in one of the following location restriction program components and abide by its
      requirements as the pretrial officer instructs:

      ☒ (i) Curfew. You are restricted to your residence every day (Enter) from Enter to Enter or
            ☒ as directed by the pretrial officer; or
      ☐ (ii) Home Detention. You are restricted to your residence at all times except for employment,
              education, religious services, medical, substance abuse or mental health treatment,
              attorney visits, court appearances, court-ordered obligations, or other activities
              preapproved by the pretrial officer; or
      ☐ (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down except for medical
              necessities and court appearances or other activities specifically approved by the court.
      ☐ (iv) Inclusion Zone. You are required to be at the following location(s) at the following
              time(s): Enter text.
      ☐ (v) Exclusion Zone. You are restricted from the following area(s): Enter text.

(u) be monitored by the form of location monitoring technology, at the discretion of the pretrial
    services officer, and abide by all technology and program requirements. The defendant shall pay
    all or part of the costs of participation in the location monitoring program as directed by the court
    and the pretrial services officer.

(v) submit person, residence, office, or vehicle to a search, conducted by the pretrial officer at a
    reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or
    evidence of a violation of a condition of release; failure to submit to a search may be grounds for
    revocation; the defendant will warn any other residents that the premises may be subject to
    searches pursuant to this condition.



As outlined above, the defendant was ordered to abide by a curfew as directed by pretrial services with
the type of location monitoring to be at the discretion of the officer. In reviewing the case after it was
transferred to me, it appears the previous officer interpreted the discretion of technology condition
inaccurately and no location monitoring component was imposed to accompany the curfew restriction.
      Case 1:21-cr-00073-RJS-DBP Document 50 Filed 09/16/22 PageID.114 Page 3 of 3
PS8                                                                                      Dana Jean Steele
D/UT 12/16                                                                              1:21CR00073-002

At this time, the defendant is doing well and a curfew may no longer be needed as the defendant has
been testing clean, helping to assist her ailing father, and has been actively engaged in the sober
community. The situation was addressed with Supervising Officer McBride and it is respectfully
recommended the defendant’s curfew and location monitoring condition be removed.

If the Court desires more information or another course of action, please contact me at 385-270-7889.

                                                             Respectfully submitted,


                                                             ______________________________
                                                       By    Tasia Benzmiller
                                                             U.S. Pretrial Services Officer
                                                             Date: September 15, 2022


THE COURT:

X Approves the request noted above
☐
☐ Denies the request noted above
☐ Other

                                                       ___________________________
                                                       Honorable Daphne A. Oberg
                                                       U.S. Magistrate Judge
                                                       Date: September 16, 2022
